918 F.2d 956Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Paul KIRK, a/k/a Kip, a/k/a Mr. Hollywood, Defendant-Appellant.
    No. 90-6140.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 29, 1990.Decided Nov. 20, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  Richard L. Williams, District Judge.  (CR-88-11-R)
      Paul Kirk, appellant pro se.
      Gurney Wingate Grant, II, Office of the United States Attorney, Richmond, Va., for appellee.
      E.D.Va.
      AFFIRMED.
      Before WIDENER, PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Paul Kirk appeals from the district court's order denying his motion for a new trial pursuant to Fed.R.Crim.P. 33.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Kirk, CR-88-11-R (E.D.Va. Sept. 10, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    